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            EXHIBIT B
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                      Mark H Kolman, Esq
                     9483 E Ironwood Bend
                      Scottsdale, AZ 85255
                          480-268-9025

                        December 29, 2021

Of cial Tort Claimants' Committee
c/o Kirk Pasich, Esq.

Re: In re: Boy Scouts of America et. al.
     United States Bankruptcy Court for the District of Delaware
     Case No. 20-10343 (LSS)

De r Mr. Pasich:

    Itemized billing invoice for my expert services, from
De ember 6, 2021 through December 30, 2021 (the date my
Re uttal Report was finalized) provided by Mark H Kolman in
th above-captioned matter:

De ember 6, 2021
     Review and sign declaration in support of application for
ret ntion (.3), t/c Schulman re: declaration and possibility of
re uttal and/or deposition (.2)
                            .5

D ember 13, 2021
   T/C Schulman re: possible rebuttal report (.2)
                            .2
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De mber 15, 2021
     Review/study insurance related portions of the report of
Bri n Whittman ( 1.5 ), emails to and from Pasich/Schulman re:
rev ew and my thoughts about Whittman report (.5)
                          2.0

        T/C and emails w/ Schulman re: rebuttal report (.3), Study
spe ific segments of Whittman report re Abuse Claim value and
liti · ation costs (.4)
                           .7

          Con£ Call Pasich and Schulman re: rebuttal report (.5), Draft
Re   I   uttal Report (2.6)
                                3.1
De       ember 18, 2021
          Review KCIC/Gutzler report and further drafting of Rebuttal
Re       ort (2.3), emails from counsel (.2 )
                                2.5
De       ember 20, 2021
          Review and revise Rebuttal Report (4.0), emails and t/cs with
co nsel (.5)
                                 4.5
De ember 21, 2021
    Review and send Rebuttal Report (.8)
                          .8
   ember 22, 2021
    T/C Tavi Flanagan re: new schedule and finalizing the
   uttal Report (.2), Revise Rebuttal Report (.3)
                           .5
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De mber 26, 2021
   Review and revise Rebuttal Report (.7)
                      .7

De ember 27, 2021
    Final revisions to Rebuttal Report- print, sign and scan (.4)
                             .4

               Total 15.9 hours X $500 = $7,950.00



Pr ious invoice -$13,300.00 (unpaid)
Cu rent invoice - $7,950.00
To 1 unpaid -     $21,250.00




                                  Mark H. Kolman, Esq.
